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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

PAMELA MATUSIAK,               §
                               §
      Plaintiff,               §
                               §
v.                             §                     Civil No. 3:24-CV-1320-K
                               §
EMVLP, LLC, PAR NORTH AMERICA, §
INC., and TEXAS COLLATERAL     §
ADJUSTERS, LLC,                §
                               §
      Defendants.              §

           ORDER REQUIRING SCHEDULING CONFERENCE AND
            REPORT FOR CONTENTS OF SCHEDULING ORDER

       Pursuant to Fed. R. Civ. P. 16(b), Rule 26 and the Court’s Civil Justice Expense
and Delay Reduction Plan (the Plan), the Court enters this Order to promote possible
early settlement of this action and to facilitate subsequent entry of a Scheduling Order.
This Order is being sent to all counsel and unrepresented parties who have appeared.
If there are other parties who have not appeared, but who have been in contact with
the plaintiff or plaintiff=s counsel, then counsel for the plaintiff (or the plaintiff if they
are unrepresented) is responsible for contacting such parties and making every effort
to ensure their meaningful participation in the conference described below.

                                              I.

       Lead counsel for each party (or designee attorney with appropriate authority)
and any unrepresented party (except for a prisoner litigant proceeding pro se) shall
confer as soon as practicable, but in no event later than 21 days from the date of this
Order (the Scheduling Conference) to confer and (1) consider the nature and basis for
the claims and defenses; (2) consider the possibilities for a prompt resolution of the
case; (3) and to make or arrange for the disclosure required by Fed. R. Civ. P. 26(a)(1)
and to prepare the report described herein. It is the Court’s belief that a personal face-
to-face meeting is usually the most productive type of conference, but the Court will
leave the determination of the form for the Scheduling Conference to the
professionalism of the parties. As a result of the Scheduling Conference, counsel shall
prepare and submit a Report Regarding Contents of Scheduling Order (the Joint
Report). The Joint Report shall also include a status report on settlement negotiations,
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but shall not disclose settlement figures.

       If plaintiff(s) and defendant(s) have not already filed a Certificate of Interested
Persons/Disclosure Statement with the Clerk of Court, they are directed to do so no
later than 7 days from the date of this order so that the Court may ensure that
recusal is not necessary.

                                             II.

       The Joint Report, which shall be filed no later than 20 days from the date of
the scheduling conference, shall include the following in separate numbered
paragraphs. (The parties shall not submit the following in the format of a proposed
order.)

      1. A brief description of the nature of the case and the claims and defenses;
      2. The identity of any related proceedings;
      3. A proposed deadline by which to file motions for leave to join other parties;
      4. A proposed deadline by which to amend pleadings;
      5. A proposed deadline by which to file various types of motions, including
         dispositive motions; (The Court prefers the deadline for dispositive motions
         to be 120 days before trial.)
      6. A proposed deadline for initial designation of experts;
      7. A proposed deadline for responsive designations of experts;
      8. A proposed deadline for objections to experts (i.e., Daubert and similar
         motions);
      9. A proposed plan and schedule for discovery, a statement of the subjects on
         which discovery may be needed, a time limit to complete factual discovery
         and expert discovery, and a statement of whether discovery should be
         conducted in phases or limited to particular issues;
      10. Any changes which should be made in the limitations on discovery imposed
         under the Federal Rules of Civil Procedure or by local rule, and any other
         limitations which should be imposed;
      11. A proposed trial date as well as an estimated number of days required for
         trial, and whether a jury has been properly demanded; (The Court operates
         a three-week docket beginning the first Monday of each month, therefore the
         parties should propose a trial date accordingly.)
      12. A proposed date for further settlement negotiations;
      13. Objections to Fed. R. Civ. P. 26(a)(1) asserted at the Scheduling Conference,
         and other proposed modifications to the timing, form, or requirements for
         disclosure under Rule 26(a), including a statement as to when disclosures
         under Rule 26(a)(1) were made or will be made;
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      14. Whether the parties will consent to trial (jury or non-jury) before a U.S.
         Magistrate Judge (consent attached);
      15. Whether the parties are considering mediation or arbitration to resolve this
         litigation and a statement of when alternative dispute resolution would be
         most effective (e.g., before discovery, after limited discovery, after motions
         are filed, etc.);
      16. Any other proposals regarding scheduling and discovery that the parties
         believe will facilitate expeditious and orderly preparation for trial; and
      17. Any other matters relevant to this case.

      Every proposed deadline shall be submitted as a date certain (e.g., January 29,
2024).

       All parties shall endeavor to prepare joint suggestions. However, in the
event the parties cannot agree, the Joint Report shall reflect each party’s respective
views and recommendation, and shall include a statement as to why agreement could not be
reached.

                                          III.

      Filing the Joint Report is mandatory. Unless plaintiff is unrepresented, lead
counsel for plaintiff is responsible for initiating contact with opposing counsel and all
unrepresented parties for the purpose of arranging the Scheduling Conference and
preparing the Joint Report. All parties shall participate in the Scheduling
Conference. Counsel for all parties and every unrepresented party are equally
responsible for seeing that this Order is complied with in a timely manner. The Joint
Report shall identify the names of any persons in the case who did not
participate in the Scheduling Conference. Each unrepresented party and at least
one attorney for each party shall sign the Joint Report prior to filing.

                                          VI.

       Fed. R. Civ. P. 16(b) requires the Court to enter a Scheduling Order as soon as
practicable” and “within the earlier of 90 days after any defendant has been served with
the complaint or 60 days after any defendant has appeared.” Any request for an
extension of time to file the Joint Report shall be denied absent a showing of good
cause for the delay.

                                           V.

      Once the Scheduling Order is issued, an extension of the trial date will
not be granted absent extraordinary circumstances. Further, deadlines set forth in
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the Scheduling Order may be extended only upon formal motion to the Court,
regardless of any agreement between the parties.
                                        VI.

       Unless this is an action exempted by Fed. R. Civ. P. 26(a)(1)(E), or an objection
to disclosure is asserted at the Scheduling Conference in good faith, as provided in Fed.
R. Civ. P. 26(a)(1), the parties must make disclosures as required by Fed. R. Civ. P.
26(a)(1) no later than 14 days from the date of the scheduling conference.

      SO ORDERED.

      Signed August 1st, 2024.


                                               ____________________________________
                                               ED KINKEADE
                                               UNITED STATES DISTRICT JUDGE
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

                        ______________________________ DIVISION

______________________
    Plaintiff

v.                            Docket No. ___________________________

______________________
    Defendant

     CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. ' 636(c), the parties to the above
captioned civil matter hereby waive their right to proceed before a Judge of the United States
District Court and consent to have a United States Magistrate Judge conduct any and all further
proceedings in the above styled case (including the trial) and order entry of a final judgment.

       Party or Counsel of Record                            Date

       _________________________                             _____________________

       _________________________                             _____________________

       _________________________                             _____________________

NOTE: Return this form to the District Clerk only if it has been executed by all parties to the
             case.


                                ORDER OF REASSIGNMENT

       IT IS HEREBY ORDERED that the above captioned matter be reassigned to the United
States Magistrate Judge ___________________________ for the conduct of all further
proceedings and the entry of final judgment in accordance with 28 U.S.C. ' 636(c) and the
foregoing consent of the parties.

DATED: ____________                                      _______________________________
                                                         UNITED STATES DISTRICT JUDGE
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                TRIALS BY THE UNITED STATES MAGISTRATE JUDGE

       Miscellaneous Order #6 of the Northern District of Texas provides that the United States

Magistrate Judges of this district court may, upon the consent of all parties in a civil case, conduct

any or all proceedings in a civil case, including a jury or non-jury trial, and order the entry of a

final judgment, in accordance with 28 U.S.C. ' 636(c). It is your obligation to serve the following

ANotice of Right to Consent to Disposition of a Civil Case by a United States Magistrate Judge@,

and the attached consent form, upon the defendant(s) with the complaint and summons.

                          NOTICE OF RIGHT TO CONSENT TO
                      DISPOSITION OF A CIVIL CASE BY A UNITED
                            STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. ' 636(c), you are hereby notified that the

United States Magistrate Judges of this district court, in addition to their other duties, may, upon

the consent of all parties in a civil case, conduct any or all proceedings in a civil case, including a

jury or non-jury trial, and order the entry of a final judgment. Copies of appropriate consent forms

for this purpose are available from the clerk of the court.

       If a consent form is not filed within 20 days of the date that all parties have filed an answer

or otherwise responded, the court will deem that failure as evidence that the parties wish that the

cause of action proceed before the district judge to whom the case was assigned at the time it was

originally filed. Should all the parties subsequently consent to trial by a magistrate judge, however,

the district judge may in his/her discretion so order. Pursuant to 28 U.S.C. ' 636(c), appeal to the

United States Court of Appeals for the Fifth Circuit from a judgment of a magistrate judge is

permitted in the same manner as an appeal from any other judgment of the Court.
